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 1    ETHAN JACOBS (SBN 291838)
      ethan@ejacobslaw.com
 2    ETHAN JACOBS LAW CORPORATION
      100 Pine Street, Suite 1250
 3    San Francisco, CA 94111
      Telephone: (415) 275-0845
 4
      Attorneys for Plaintiff
 5    NUBE GROUP LLC
 6
      J. JONATHAN HAWK (SBN 254350)
 7    jhawk@whitecase.com
      WHITE & CASE LLP
 8    555 South Flower Street, Suite 2700
      Los Angeles, CA 90071-2433
 9    Telephone: (213) 620-7700
      Facsimile: (213) 452-2329
10
      Attorneys for X CORP., as successor in interest
11    to named defendant Twitter, Inc.
12
                                      UNITED STATES DISTRICT COURT
13
                                 NORTHERN DISTRICT OF CALIFORNIA
14

15    NUBE GROUP LLC,                                   No. 3:23-cv-00921-TSH

16                       Plaintiff,                     JOINT STIPULATION OF DISMISSAL
                                                        OF ACTION WITH PREJUDICE
17            v.

18    TWITTER, INC.,

19                       Defendant.

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23          Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff Nube Group LLC

24   (“Nube Group”), and X Corp., as successor in interest to named defendant Twitter, Inc. (“Twitter”)

25   hereby stipulate to dismissal of this action with prejudice. Each party shall bear its own costs and

26   attorney fees. A proposed order has been concurrently submitted to this Court.

27
     [SIGNATURES ON FOLLOWING PAGE]
28



     STIPULATION TO DISMISS                                            CASE NO. 3:23-CV-00921-TSH
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     Dated: May 11, 2023                       ETHAN JACOBS LAW CORPORATION
 1

 2
                                               By: /s/ Ethan Jacobs
 3                                                     Ethan Jacobs

 4                                             Attorneys for Plaintiff
                                               NUBE GROUP LLC
 5

 6

 7   Dated: May 11, 2023                       WHITE & CASE LLP

 8

 9
                                               By: /s/ J. Jonathan Hawk
10                                                      J. Jonathan Hawk

11                                             Attorneys for X CORP., as successor in interest to named
                                               defendant Twitter, Inc.
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13

14                                        FILER’S ATTESTATION

15
             I, Ethan Jacobs, am the ECF user whose identification and password are being used to file
16

17   the Stipulation of Dismissal of Action with Prejudice. In compliance with Local Rule 5-1(i)(3), I

18   hereby attest that all signatories hereto concur in this filing.

19
                                                     /s/ Ethan Jacobs
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     STIPULATION TO DISMISS                              -2-               CASE NO. 3:23-CV-00921-TSH
